                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BROOKE BOONE,                           )
                            Plaintiff,  )
     v.                                 )               No. 1:20-cv-2863
                                        )
HOSPIRA INC. and HOSPIRA,               )
WORLDWIDE, LLC, f/k/a HOSPIRA           )
WORLDWIDE, INC.                         )
                            Defendants. )

                                   NOTICE OF FILING

To:   Sara B. Roitman, (Sara.Roitman@dechert.com), Dechert LLP, 35 W Wacker Dr
Ste 3400, Chicago IL 60601

      PLEASE TAKE NOTICE that on May 19, 2020, there was filed with the Clerk of
the U.S. District for the Northern District of Illinois, the Plaintiff’s Motion to Remand, a
copy of which is attached.

                                                 Respectfully submitted,

                                                 MORRISON & MORRISON, P.C.

                                          By:           /s/ Donald J. Morrison
                                                 Attorney for Plaintiff

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                                  PROOF OF SERVICE

      The undersigned certifies, under penalties as provided by law pursuant to 735
ILCS 5/1-109 of the Code of Civil Procedure, that this document was served by email on
May 19, 2020.

                                                        /s/ Donald J. Morrison
